  8:09-cv-00110-JFB-TDT Doc # 100 Filed: 09/10/10 Page 1 of 2 - Page ID # 841



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

DENEISE INGRAM, as Legal Guardian                )    CASE NO. 8:09-cv-110
for KAREN CHANDLER,                              )
                                                 )
       Plaintiff,                                )
                                                 )     MOTION TO DISMISS
                       v.                        ) DEFENDANT COVENANT CARE, INC.
                                                 )
COVENANT CARE MIDWEST, INC.,                     )
d/b/a NEBRASKA SKILLED NURSING                   )
AND REHABILITATION, and                          )
COVENANT CARE, INC.                              )
                                                 )
       Defendant.                                )

TO THE HONORABLE JUDGE OF SAID COURT:
       COMES NOW the Plaintiff, and moves this Court for an Order dismissing defendant
Covenant Care, Inc. as a party to this action.
       In support of this Motion, Plaintiff would show that discovery has revealed that liability
rests solely with the remaining Defendant, Covenant Care Midwest, Inc., d/b/a Nebraska Skilled
Nursing and Rehabilitation. Further, that the undersigned has conferred with opposing counsel,
who has no objection to the filing of same.
       WHEREFORE, Plaintiff prays that this Motion be granted and sustained by appropriate
Order of this Honorable Court.


       DATED this 10th day of September, 2010.

                                                 DENEISE INGRAM, as Legal Guardian for
                                                 KAREN CHANDLER, Plaintiff

                                                 By       s/ Matthew G. Miller
                                                            Matthew G. Miller, #19092
                                                            6910 Pacific Street, Suite 200
                                                            Omaha, Nebraska 68106
                                                            (402) 558-4900
                                                            (402) 558-4906 (Facsimile)
                                                            matt@mgmillerlaw.com
                                                            ATTORNEY FOR PLAINTIFF
                                                      1
  8:09-cv-00110-JFB-TDT Doc # 100 Filed: 09/10/10 Page 2 of 2 - Page ID # 842




                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this 10th day of September, 2010, I electronically
filed and the foregoing document with the Clerk of the Court by using the CM/ECF system
which sent notification of such filing upon all parties who filed an appearance or motion by
electronic filing in this case to the following:

               Jack D. Williams
               Robert M. Slovek
               Heather H. Anschutz
               Kutak Rock, LLP, Omaha
               The Omaha Building
               1650 Farnam St.
               Omaha, NE 68102-2186
               Phone: (402) 346-6000
               Fax: (402) 346-1148
               E-Mail: jack.williams@kutakrock.com; robert.slovek@kutakrock.com,
               heather.anchutz@kutakrock.com; barbara.brown@kutakrock.com,
               lea.coffman@kutakrock.com


               Admitted Pro Hac Vice
               Alexander F. Giovanniello, #125562
               Karen A. Bocker, #213764
               Giovanniello & Michels, LLP
               One Pointe Drive, Suite 300
               Brea, CA 92821
               E-Mail: afg@gm-lawfirm.com; klk@gm-lawfirm.com; kab@gm-lawfirm.com;


                                                      By   s/ Matthew G. Miller




                                                  2
